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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS
                                 WESTERN DIVISION

______________________________________
                                      ]
In re:                                ]
       Richard M. Shove               ]
       & Kathleen E. Shove,           ]                      Chapter 7
                   Debtors            ]                      Case No. 17-31052
                                      ]
______________________________________]


                            DEBTOR’S MOTION TO COMPEL TRUSTEE’S
                            ABANDONMENT OF ESTATE PROPERTY AND
                              CONCLUDE MEETING OF CREDITORS

NOW COMES the Debtors, Richard M. Shove and Kathleen E. Shove, and respectfully moves
this Honorable Court to compel the Chapter 7 Trustee to abandon estate property and conclude
the §341 Meeting of Creditors. In support of their motion, Debtors, state the following:

1.     Debtor(s), Richard M. Shove and Kathleen E. Shove, commenced this case on December
       15, 2017 by filing a voluntary petition for relief under Chapter 7 of Title 11 of the United
       States Bankruptcy Code.

2.     On December 18, 2017, Jack E. Houghton, Jr. was appointed as Chapter 7 Trustee of the
       Debtor’s Bankruptcy Estate (the “Trustee”).

3.     Pursuant to 11 U.S.C. §541, the Property became property of the bankruptcy estate.

4.     Listed on Schedule A/B of the Debtor’s bankruptcy schedules are fully exempt or
       encumbered real and personal property. Real Property includes:
       a. 5 Crystal St., Lenoxdale, MA: Debtors principal residence
       b. 7 Crystal St., Lenoxdale, MA
       c. 8 Crystal St. Lenoxdale, MA Motion for Relief was Granted (See Docket # 123).
       d. 10 Crystal St., Lenoxdale, MA
       e. 12 Crystal St., Lenoxdale, MA - Motion for Relief was Granted (See Docket # 37).
       f. 30 Chestnut St., Lee, MA.
       g. 32-36 Adams St., Pittsfield, MA
       h. 51-53 Orchard St., Pittsfield, MA - Motion for Relief was Granted (See Docket # 41); and
           Trustee abandoned interest in property.
       i. 524 Walker St., Lenoxdale, MA - This property is currently in receivership. Motion for
           Relief was Granted (See Docket # 68); and Trustee abandoned interest in property.

       See Exhibit A for schedules.
